             UNITED STATES BANKRUPTCY COURT
           FOR THE EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION

In re:

LUMINOUS MOBILE, L.L.C.                               Case No. 23-43724

                                                      Chapter 11

                                                      Hon. Lisa S. Gretchko
Debtor.

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 ORDER DENYING EX-PARTE MOTION TO ADJOURN HEARING

       This matter came before the Court upon the Debtor’s Ex Parte Motion
(“Ex Parte Adjournment Motion”; ECF No. 33) seeking to adjourn the
hearing on the Landlord’s Motion to Compel Immediate Assumption or
Rejection of Executory Lease, Or In the Alternative, Relief from Stay
(“Landlord’s Motion”; ECF No. 4) which is scheduled for an in-person
hearing on May 24, 2023 at 1:00 p.m. Pursuant to E.D. Mich. LBR 9014-
1(k), the May 24, 2023 hearing on the Landlord’s Motion will not be an
evidentiary hearing. The Court has reviewed the Ex Parte Adjournment
Motion, the Exhibit filed at ECF No. 34, and other pertinent pleadings, and
is advised in the premises.

     NOW, THEREFORE, IT IS HEREBY ORDERED that the Ex Parte
Adjournment Motion is denied.



Signed on May 23, 2023




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